                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                  –Greenbelt Division–

KILMAR ARMANDO ABREGO GARCIA,
ET AL.,

                       Plaintiffs,
                                                        Case No.: 8:25-CV-00951-PX
v.

KRISTI NOEM, ET AL.,

                       Defendants.


                          MOTION FOR ADMISSION PRO HAC VICE

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD

       I, Jonathan G. Cooper, am a member in good standing of the bar of this Court. I am moving

for the admission of Morgan L. Anastasio to appear pro hac vice in this case as counsel for Plaintiffs

Kilmar Armando Abrego Garcia, Jennifer Stefania Vasquez Sura, and A. A.V., a minor, by and

through his next friend and mother, Jennifer Vasquez Sura.

       We certify that:

       1.      The proposed admittee is not a member of the Maryland bar and does not maintain

any law office in Maryland.

       2.      The proposed admittee is a member in good standing of the bars of the following

State Courts and/or United States Courts:

 State Court & Date of Admission                     U.S. Court & Date of Admission
 State of New York (6/28/2021)           U.S. District Court, W.D. of N.Y. (9/30/2021)
                                         U.S. Court of Appeals, Eleventh Circuit (11/14/2021)
                                         U.S. Court of Appeals, Third Circuit (3/1/2022)




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       3.      During the twelve months immediately preceding this motion, the proposed

admittee has been admitted pro hac vice in this Court 0 time(s).

       4.      The proposed admittee has never been disbarred, suspended, or denied admission

to practice law in any jurisdiction.

       5.      The proposed admittee is familiar with the Maryland Attorneys’ Rules of

Professional Conduct, the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the

Federal Rules of Appellate Procedure, and the Local Rules of this Court, and understands she shall

be subject to the disciplinary jurisdiction of this Court.

       6.      The proposed admittee understands admission pro hac vice is for this case only and

does not constitute formal admission to the bar of this Court.

       7.      The undersigned movant is also a member of the bar of this Court in good standing,

and will serve as co- counsel in these proceedings.

       8.      The $100.00 fee for admission pro hac vice accompanies this motion.

       9.      We hereby certify under penalties of perjury that the foregoing statements are true

and correct.




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MOVANT                                           PROPOSED ADMITTEE


 /s/ Jonathan G. Cooper                           /s/ Morgan L. Anastasio
Jonathan G. Cooper (D. Md. Bar No. 21345)        (Signed by Jonathan G. Cooper with
QUINN EMANUEL URQUHART &                         permission of Morgan L. Anastasio)
SULLIVAN, LLP                                    QUINN EMANUEL URQUHART &
1300 I Street NW, Suite 900                      SULLIVAN, LLP
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                                                 Fax No.: 212-849-7100
Dated: May 7, 2025.


  Counsel for Kilmar Armando Abrego Garcia, Jennifer Stefania Vasquez Sura, and A. A.V., a
           minor, by and through his next friend and mother, Jennifer Vasquez Sura.




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